  REVOLVING                            TIMELINE                LOSS
LINE OF CREDIT                          Dec 15,
                                         2017
 Bank and GoCR execute
 promissory note for $1.5 million
 to fund the cash flow needs of         Jan-2018
 Newbo Evolve        PSR ¶ 13, Ex. 1               McCreight shares a budget of
                                       Feb-2018    $335,909.66 with GoCR. Minutes:
                                                   “time to consider contingency
                                       Mar-2018    plans to cut costs and increase
                                                   income with additional
                                       April 11,
                                                   sponsorship dollars.”      PSR ¶ 16
                                        2018
                                       May 16,
                                                   McCreight reports to GoCR Board
                                        2018       that passes are not selling as
                                                   originally budgeted and the budget
                                                   is reduced and getting more
                                                   realistic                   PSR ¶ 18


                                        June 1,    McCreight and Hargrave provide
                                         2018      a Newbo Evolve budget of
                                                   $84,703.66 to Bank       PSR ¶ 19



                                        June 11,   Hargrave informs McCreight and
                                                   Myers the budget now projecting
                                          2018
                                                   more than $1.1 million loss
                                                                               PSR ¶ 20

                                                   Hargrave sends false budget
GoCR receives $225,000                  June 14,
                                                   projecting $154,653.66 profit to
advance from Bank                         2018     United Capital, a potential
                         PSR ¶ 21
                                                   lender
                                                                                 Ex. 7
                                        June 15,
                                          2018     McCreight directed to cut budget
                                                   to reduce $1.1 million loss to no
                                                   more than $250,000         PSR ¶ 22



                                                   McCreight presents budget loss
                                                   of $644,846.34 to the GoCR
        Government                                 board. Board informed budget
          Exhibit
                                        June 20,
                                                   very tight, and Newbo Evolve
             1
                                          2018
                                                   would be short but nothing left to
              Case                                 cut                      PSR ¶ 23
       22-CR-00001-CJW
           Sentencing                                                    Page 1 of 2
                                                           Hargrave emails false Budget to
                                            July 16,       Bank showing $65,653.66 profit
                                             2018                                     PSR ¶ 26

                                                           McCreight makes false statement
                                                           about ticket sales to Bank
                                                           regarding increase in the line of
                                                           credit from $1.5 to $1.75
                                                           PSR ¶ 27

                                            July 18,
                                             2018          McCreight provides the same
                                                           false ticket numbers to the Board
                                                                                      PSR ¶ 28



GoCR and Bank execute
promissory note of $1.75
                                            July 19,
replacing the prior $1.5 note.
McCreight and Hargrave obtain                2018
additional $250,000
                   PSR ¶ 29, Ex. 2




 McCreight and Hargrave
 request another $450,000 from              July 31,
 Bank               PSR ¶¶ 30-32             2018




  GoCR and Bank execute
  promissory note in the amount
                                           August 1,
  of $2.2 replacing the prior $1.75
  note                PSR ¶ 32, Ex. 3
                                             2018



                                        August 3-5, 2018
                                         Newbo Evolve


                                                           Bank recovers $757,768.75 from
                                                           Newbo Evolve             PSR ¶ 40

GoCR and Bank execute                      August 15,
agreement in the amount of $1.5              2018
replacing the prior $2.2 note
                               Ex. 4

                                                                                 Page 2 of 2
